USDC IN/ND case 2:05-cr-00077-RL-APR    document 105   filed 02/15/07   page 1 of 11


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION

 UNITED STATES OF AMERICA                  )
                                           )
              Plaintiff,                   )
                                           )
              v.                           )           No. 2:05-CR-77
                                           )
 PAUL HERNANDEZ, et. al.                   )
                                           )
              Defendants.                  )

                             OPINION AND ORDER
       This matter is before the Court on (1) Motion for New Trial and

 Supplement to Motion for Acquittal, filed by Kenneth Castaldi on

 September 28, 2006, and (2) Motion for New Trial and Supplement to

 Motion for Acquittal, filed by Paul Hernandez on September 28, 2006.

 For the reasons set forth below, the motions are DENIED.



 BACKGROUND

       Paul Hernandez (“Hernandez”) and Kenneth Castaldi (“Castaldi”)

 were indicted in a twenty-one count indictment for crimes related to

 the securing and misuse of a grant.           Count 1 alleges that Hernandez

 and Castaldi engaged in mail fraud in violation of 18 United States

 Code sections 1341 and 2.             Count 2 alleges that Paul Hernandez

 violated 29 United States Code section 501(c) by embezzling, stealing

 and unlawfully and willfully abstracting and converting to his own use

 and the use of two others the moneys, funds, securities, property and

 other assets of a labor organization.            Counts 3 through 14 charge

 Hernandez and Castaldi with theft or embezzlement from an employee
USDC IN/ND case 2:05-cr-00077-RL-APR   document 105   filed 02/15/07   page 2 of 11


 benefit plan, in violation of 18 United States Code, sections 664 and

 2.   Counts 15-20 charge Hernandez with six additional violations of

 18 United States Code section 664.          Count 21 charges Paul Hernandez

 with making false statements, but the Government conceded it had not

 proved this count, and it was dismissed on Defendant’s motion for

 judgment of acquittal made at the close of the Government’s case.

       On September 21, 2006, the jury found Hernandez guilty on counts

 1 through 20 of the indictment, and Castaldi guilty on count 1 and

 counts 3 through 14 of the indictment.            The instant motions were

 timely filed seven days later, on September 28, 2006.                 This Court

 initially ordered the government to respond by October 10, 2006, and

 Defendants to reply by October 17, 2006.          Castaldi, however, sought

 leave to supplement his motion with citations to the transcript.

 Accordingly, Defendants were given until December 15, 2006 to obtain

 the transcript and file a supplement. Because of a delay in obtaining

 the transcript, the deadline was extended until December 28, 2006.

 Castaldi filed a supplement on December 28, 2006, and the government

 responded on January 11, 2007.              Hernandez opted not to file a

 supplement with this Court.       The motions are now fully briefed and

 ripe for adjudication.




 DISCUSSION
       The instant motions are brought both pursuant to Federal Rule of

 Criminal Procedure 33, and pursuant to Federal Rule of Criminal

 Procedure 29.     Federal Rule of Criminal Procedure 33 provides that

                                       -2-
USDC IN/ND case 2:05-cr-00077-RL-APR   document 105    filed 02/15/07   page 3 of 11


 “Upon the defendant’s motion, the court may vacate any judgment and

 grant a new trial if the interest of justice so requires.”                 Fed. R.

 Crim. Pro. 33.     To prevail on a motion for a new trial, a defendant

 must show that the verdict is against the manifest weight of the

 evidence.    United States v. Washington, 184 F.3d 653, 657 (7th Cir.

 1999).      The   court   “must   grant   a   new   trial    if   [the]   evidence

 ‘preponderates heavily against the verdict such that it would be a

 miscarriage of justice to let the verdict stand.’” Id. (quoting Untied

 States v. Reed, 875 F.2d 107, 113 (7th Cir. 1989)).

       Federal Rule of Criminal Procedure 29(c)(1) provides that “A

 defendant may move for a judgment of acquittal, or renew such a

 motion, within 7 days after a guilty verdict or after the court

 discharges the jury, whichever is later.”                   Fed. R. Crim. Pro.

 29(c)(1).    Regardless of whether a motion for judgment of acquittal

 is made before submission to the jury or after, the standard is the

 same: whether there is relevant evidence (viewed in the light most

 favorable to the prosecution) from which the jury can reasonably find

 the defendant guilty beyond a reasonable doubt.               Reed, 875 F.2d at

 111; Washington, 184 F.3d at 657.



 Legal Sufficiency of Indictment
       Both Castaldi and Hernandez argue that the indictment is legally

 insufficient, in that it allegedly failed to properly name the victim.

 The problem with this argument is that, even if true, the challenge

 comes too late. A challenge to the sufficiency of the indictment must

 be made before trial, unless the indictment “is so defective that it

                                       -3-
USDC IN/ND case 2:05-cr-00077-RL-APR    document 105      filed 02/15/07    page 4 of 11


 does not, by any reasonable construction, charge an offense for which

 the defendant is convicted.” See Fed. R. Crim. P. 12(b)(3)(A); United

 States v. Fernandez, 282 F.3d 500, 508 (7th Cir. 2002)(citing United

 States v. Gooch, 120 F.3d 78, 80 (7th Cir. 1997)).

       Even if the argument were not untimely, it would fail. Defendant

 Castaldi argues that counts 3-14 allege that Defendants “did embezzle,

 steal, and unlawfully and willfully abstract and convert to their own

 use ... the moneys ... and other assets of the Northwest Indiana

 Carpenters Joint Apprenticeship Committee...”                 Castaldi, however,

 claims that the evidence at trial showed that the grant did not belong

 to the Northwest Indiana Carpenters Joint Apprenticeship Committee

 (“JAC”).     Rather, he argues it belonged to the Northwest Indiana

 District Council of Carpenters (citing the testimony of Amy McFadden,

 Teri VanZant, and Gerry Nannega).            The Government points out that

 there was evidence to the contrary as well.                   Namely, that Larry

 Wojnarowicz (“Wojnarowicz”) of Havey & Associates testified that the

 Grant   Checking    Account,   which    was    controlled        by   Castaldi      and

 Hernandez,    was   included    on    the     official     books      of    the    JAC.

 Unfortunately, the Government did not provide this Court with a

 citation to where this appears in the evidence.                 Nonetheless, this

 Court has reviewed the transcript of Wojnarowicz’s testimony, and

 believes that, even if not stated explicitly, it can be inferred that

 Wojnarowicz believed that the grant checking account was an asset of

 the JAC.    The evidence also establishes that Defendants wrote checks

 to themselves, without JAC board approval.                Thus, the evidence is
 sufficient for a jury to find that Defendants were stealing JAC funds.

                                        -4-
USDC IN/ND case 2:05-cr-00077-RL-APR   document 105     filed 02/15/07     page 5 of 11


        Additionally, the Government claims that the purpose of the grant

 was to benefit the JAC, and that, a defendant can steal from the JAC

 if funds were intended for the JAC, even if the funds never got there.

 In support, the Government relies upon United States v. Grizzle, which

 held that, “the assets of employee benefit plans subject to ERISA

 include employee contributions to benefit plans which are withheld

 from employee paychecks and for deposit into their benefit plans, even

 though the contributions have not actually been delivered to the

 benefit    plan.”)    933   F.2d   943,     946-47   (11th   Cir.       1991).     The

 Defendants did not argue against the legal principle suggested by the

 Government, and agreed to a jury instruction being given based on

 Grizzle.    Thus, this legal principle is not being questioned here.

 Unfortunately, the Government’s claim that the grant was intended to

 benefit the JAC is not supported by any specific citation to the

 record.    While the Government refers this Court to the testimony of

 Dottie Nelson and Larry Wojnarowicz, no citations to the record are

 provided. Nonetheless, this Court’s recollection of the trial is that

 there was evidence that the purpose of the grant was to benefit the

 JAC.      Furthermore, the Government contends that the receipts and

 expenses sent to the State of Indiana were expenses incurred by the

 JAC, and therefore they needed to be reimbursed to the JAC.                   This is

 in accord with the Court’s recollection.             Additionally, despite an

 opportunity to do so during the extended period of briefing that

 occurred in this matter, the Defendants offer no suggestion that the

 Government is wrong on these factual points.           Accordingly, this Court
 cannot find that the Defendants are entitled to either judgement of

                                       -5-
USDC IN/ND case 2:05-cr-00077-RL-APR      document 105     filed 02/15/07    page 6 of 11


 acquittal    or   a   new   trial   on   the     basis   that   the   indictment      is

 insufficient.



 Mug Shot

       The Government, in its opening and closing arguments, used a

 pictorial flow chart that showed pictures of Hernandez and Castaldi.

 These pictures were taken at the booking of Defendants on the present

 charges, and Defendants characterize them as “mug shots.”                   Defendants

 argue that the presentation of pictures to the jury, under the

 circumstances of this case, constitutes reversible error.                           But,

 Defendants were not wearing prison garb or holding prison slates in

 the picture. In fact, there is nothing in the pictures that indicates

 they are incarcerated.        While actual prison garb mug shots are often

 inadmissible,      pictures    that      do     not   suggest   incarceration        are

 permissible.      See United States ex. rel Bleimehl v. Cannon, 525 F.2d

 414, 416 (7th Cir. 1975); Untied States v. Gray, 410 F.3d 338, 344-45

 (7th Cir. 2005).      Even pictures showing a defendant in police custody

 are permissible where they do not suggest prior criminal activity.

 United States v. Allen, 390 F.3d 944, 950 (7th Cir. 2004). This Court

 finds that the pictures do not suggest incarceration.                      Accordingly,

 it was not error to show the pictures to the jury during opening and

 closing arguments.



 Hearsay Objections
       Both Castaldi and Hernandez argue that this Court erred in

 sustaining several hearsay objections by the prosecution, and that the

                                           -6-
USDC IN/ND case 2:05-cr-00077-RL-APR     document 105       filed 02/15/07   page 7 of 11


 cumulative nature of these errors prejudiced Defendants.                    Defendants

 argue   that    this    Court’s      hearsay     rulings     prevented      them    from

 demonstrating that they were not concealing or hiding their actions,

 evidencing a clear conscience, and that they therefore lacked the

 intent required by law.

       Hernandez’      motion   lists    seven     instances      where      this   Court

 allegedly made erroneous hearsay rulings.                 But Hernandez failed to

 provide sufficient detail to enable this Court to assess whether any

 errors actually occurred.         Although this Court granted each Defendant

 additional     time    to   obtain     the     required    transcripts       and    file

 supplemental briefs, Hernandez did not file a supplemental brief.                     As

 such, this Court cannot assess the alleged hearsay errors pointed to

 in Hernandez’ brief (although some may overlap with those asserted by

 Castaldi, and to that extent, they are examined further below).

       Castaldi points to six specific rulings that he believes deprived

 him of a fundamentally fair trial.             Castaldi first cites to Joseph H.

 Coar’s (“Coar”) testimony.           The question posed to Coar was “Do you

 remember Mr. Castaldi telling you that that [referring to a forklift]

 was to be purchased from the grant account.”                 (Trial Transcript, V.

 4 at 62-65.)       The Government objected based on hearsay, and the

 objection was sustained after much argument from counsel regarding

 what constitutes hearsay.          Castaldi argued that it was irrelevant

 whether the grant account was used to pay for the forklift; what

 mattered was that a trustee had heard of the grant account.                     Because

 Castaldi annunciated a purpose for the testimony other than its truth,
 it may have been error to sustain this objection. However, this error

                                          -7-
USDC IN/ND case 2:05-cr-00077-RL-APR   document 105   filed 02/15/07   page 8 of 11


 alone does not rise to the level necessary to justify either a new

 trial or judgment of acquittal.

       Next, Castaldi cites to the testimony of James Hornak (“Hornak”).

 Hornak was asked “Isn’t it true, that he [referring to Mr. Nannega]

 pretty much told the other trustees how to vote?”           (Trial Transcript

 V. 4 at 115.)    The Government objected on the grounds of hearsay, and

 the objection was sustained.          Castaldi claims error because the

 objection was made regarding a question that did not concern a

 statement.    The more fundamental problem with Castaldi’s argument is

 that, even if this Court’s evidentiary ruling was error in this

 instance, this testimony would not have furthered Castaldi’s alleged

 defense.     In other words, whether someone told the trustees how to

 vote does not show that Castaldi lacked the requisite intent to be

 convicted of the crimes charged.

       With regards to Craig Miller (“Miller”), Castaldi argues that

 this Court erroneously upheld a hearsay objection when the question

 asked was not regarding what was said, but if something was said.

 Miller was asked “And to your knowledge, did Mr. Castaldi ever get any

 complaints about your teaching?”            (Trial Transcript V. 4 at 162.)

 But, like the argument made with regards to Hornak, this error, if

 any, does not show that Castaldi lacked the requisite intent to be

 convicted of the crimes charged.

       Castaldi also asserts that this Court issued an erroneous hearsay

 ruling during the testimony of Jerry Cooley (“Cooley”).               Cooley was

 asked “Did you ever learn that the grant was approved.” (Trial
 Transcript V. 4 at 179.)     The Government objected on the grounds that

                                       -8-
USDC IN/ND case 2:05-cr-00077-RL-APR   document 105    filed 02/15/07    page 9 of 11


 the response calls for hearsay.       But, Castaldi never stated that the

 question was not being asked for the truth of the matter.                    It was

 Castaldi’s obligation to make this Court aware that there was some

 purpose for the out of court statement other than the truth of the

 matter. Because Castaldi failed to annunciate a reason other than the

 truth of the matter at the time the Government made its objection,

 Castaldi can not now claim error on the part of this Court.

       Furthermore, Castaldi asserts that an error occurred when this

 Court sustained a hearsay objection during William Hasse’s (“Hasse”)

 testimony.    Hasse was asked “At one of those meetings, you learned of

 the scaffolding grant.”      Hasse answered with “If I didn’t hear about

 it at the meeting, I heard about it after the meeting.                 It indicates

 I did not attend the meeting, but I did hear about it.”                  Hasse was

 then asked, “And you learned of that from Mr. Castaldi?”                     (Trial

 Transcript V. 4 at 207-211.)      The Government objected on the basis of

 hearsay.     Castaldi argued that the question was not asked for the

 truth of the matter asserted (not for whether they got the grant or

 not), but to show he had heard about the grant.           In other words, that

 Castaldi was not trying to hide the grant.           This may have been error.

 But again, like any error committed regarding the testimony of Hornak,

 this error by itself it not so significant that a new trial or

 judgment of acquittal is required. Even in combination with any error

 committed     regarding    Hornak’s     testimony,       the    error       remains

 insignificant.

       Lastly, Castaldi alleges that this Court erred in sustaining a
 hearsay objection during Michael Simko’s (“Simko”) testimony.                 Simko

                                       -9-
USDC IN/ND case 2:05-cr-00077-RL-APR     document 105       filed 02/15/07     page 10 of 11


  was asked “She [referring to Dottie Nelson] gave you the explanation

  that she was working over time, right?” (Trial Transcript V. 4 at 264-

  272.)    Castaldi claims that the question was asked to understand the

  state of mind of the witness, not to determine whether she was really

  working overtime.        Again, the problem with this is that, even if this

  Court did err, Simko’s state of mind is not Castaldi’s state of mind.

  Simko was not on trial, and his state of mind does not show that

  Castaldi lacked the requisite intent to be convicted.                      Thus, even if

  error, the alleged error would not support Castaldi’s theory of

  defense.

          In sum, although this Court may have erred in a few instances

  with     regards    to    its   hearsay     rulings,     those     errors       did   not

  substantially prevent Defendants from presenting their evidence and

  advancing their theory of the case. Ample evidence existed from which

  the jury could conclude that the Defendants were guilty as charged of

  Counts    1-20     of   the   indictment.        As   such,   Defendants       have   not

  demonstrated that they are entitled to either judgment of acquittal

  or a new trial on the basis of this Court’s allegedly erroneous

  hearsay rulings.



  Castaldi’s Mail Fraud Conviction
          Castaldi argues that there was insufficient evidence to show that

  the mails were used to execute a scheme to defraud.                        Specifically,

  Castaldi argues that Count 1 charges him with scheming to defraud

  during the grant period, but that the proof presented at trial focused

  on what happened after the grant period.               The Government argues that

                                            -10-
USDC IN/ND case 2:05-cr-00077-RL-APR     document 105     filed 02/15/07   page 11 of 11


  Castaldi knew (or at least that it was reasonably foreseeable - which

  is all that is required1) that the grant checks were being mailed from

  Indianapolis to Hobart during the grant period.                   Additionally, a

  review of the tapes of the testimony of Dottie Nelson reveals that the

  grant checks were sent to the Hobart office.               This Court finds the

  evidence was sufficient to show that the mails were used to execute

  the alleged scheme to defraud.



  Other Arguments
        In addition to the above, each Defendant has renewed arguments

  raised in the oral Rule 29 motion at the close of the Government’s

  case.     Neither Hernandez nor Castaldi offered any additional argument

  or legal authority to support his position.             This Court has reviewed

  the     transcript   of   the   Rule   29     motion,    and    finds    no    error.

  Accordingly, this Court stands by its previous ruling on the arguments

  made in the previous motions for judgment of acquittal.


  DATED: February 15, 2007             /s/RUDY LOZANO, Judge
                                       United States District Court




        1
          United States v. Koen, 982 F.2d 1101, 1107 (7th Cir. 1992).

                                         -11-
